                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 JOHN DOE 1, et al.                            )
                                               )
                Plaintiffs,                    )
                                               )
         v.                                    ) Case No. 25-300
                                               )
 U.S. OFFICE OF THE DIRECTOR OF                )
 NATIONAL INTELLIGENCE, et al.                 )
                                               )
                Defendants.                    )

                 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT
            OF THEIR MOTION FOR A TEMPORARY RESTRAINING ORDER

       1.      Plaintiffs are nonpartisan civil servants—career U.S. intelligence officers

temporarily assigned by senior supervisors at Defendants the Office of the Director of National

Intelligence (“ODNI”) and Central Intelligence Agency (“CIA”) to personnel management

functions involving diversity, equity, inclusion and accessibility (“DEIA”) matters.

       2.      On January 20, 2025 the President issued Executive Order (“E.O.”) 14151, Ending

Radical and Wasteful Government DEI Programs and Preferencing, describing existing such

programs as “illegal and immoral,” followed by a White House statement the next day condemning

DEIA in even stronger terms.

       3.      E.O. 14151 did not call for the termination of officers temporarily assigned to DEIA

programs, and cautioned that it shall be implemented consistent with applicable law. Yet on

January 22, 2025 Defendants ODNI and CIA placed Plaintiffs upon administrative leave, only

because of their temporary assignments, directed by senior supervisors, to personnel functions

involving DEIA. On February 14 Plaintiffs received telephone calls ordering them to report to the
visitors’ centers of ODNI or CIA Headquarters with their access badges first thing on February 18,

2025.

        4.      Plaintiffs are going to be fired (or placed on involuntary leave without pay,

“LWOP”) in violation of the Administrative Procedure Act (“APA”), in an unlawful agency action

that is arbitrary and capricious abuse of discretion; contrary to their rights under the First and Fifth

Amendments to the Constitution; without observance of Agency regulations requiring notice and

granting the rights to be heard and to appeal; and unsupported by any record whatsoever.

        5.      Plaintiffs seek a temporary injunction restraining Defendants from terminating

them or placing them on LWOP, and ask for the same relief regarding other similarly-situated

officers. Plaintiffs are likely to succeed on the merits of their APA and constitutional claims.

Plaintiffs will suffer irreparable harm in the absence of an injunction by being publicly fired for

allegedly engaging in illegal and immoral activity. The balance of hardships is in Plaintiffs’ favor

as termination causes them economic hardship, and Defendants none at all. And Plaintiffs’

continued public service as highly-trained intelligence officers serves the public interest.

                                          BACKGROUND

        6.      This Motion incorporates the factual allegations of Plaintiffs’ Complaint. This

background is intended to provide the Court with a brief summary of operative events.

        7.      Plaintiffs are nonpartisan civil servants—career U.S. intelligence officers

temporarily assigned by Defendants ODNI and CIA to personnel management functions involving

DEIA matters.

        8.      On January 20, 2025 Donald Trump was inaugurated the forty-seventh president of

the United States. That same day, the President issued Executive Order (“E.O.”) 14151, Ending

Radical and Wasteful Government DEI Programs and Preferencing, describing existing such



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programs as “illegal and immoral.” The E.O. provided no citation to any statute supporting the

assertion that these programs are “illegal” or “immoral.”

        9.      On January 21, 2025 the White House issued a statement, Ending Illegal

Discrimination and Restoring Merit-Based Opportunity.           The statements describes DEIA

programs as “dangerous, demeaning, and immoral,” “illegal,” violative of civil-rights laws,

undermining of “national unity, as they deny, discredit, and undermine the traditional American

values … in favor of an unlawful, corrosive, and pernicious identity-based spoils system,”

stigmatizing and demeaning of hardworking Americans, and resulting in tragic and “disastrous

consequences” on the basis of “pernicious discrimination.” Again, no legal citations were provided

for these sweeping statements.

        10.     The E.O. 14151 ordered all executive agencies to “terminate, to the maximum

extent allowed by law, all DEI, DEIA, and ‘environmental justice’ offices and positions.” Id. at §

2(b)(i). Similarly, the January 21 White House statement called upon the Executive Branch “to

terminate all discriminatory and illegal preferences, mandates, policies, programs, activities,

guidance, regulations, enforcement actions, consent orders, and requirements.” Id. at § 2.

        11.     Notably, E.O. 14151 and the subsequent White House statement did not call for the

termination of officers assigned to DEIA programs, whether in temporary or permanent capacities.

In fact, the E.O. cautioned that nothing in it impaired any legal authority granted to an executive

agency, and directed that the order shall be implemented consistent with applicable law. See id. at

§ 8 (a)(i) and (b).

        12.     On or about January 22, 2025 Defendants CIA or ODNI placed Plaintiffs upon

administrative leave, apparently only because of their temporary assignments to personnel

functions involving DEIA. On or about February 14, 2025 Plaintiffs received telephone calls from



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human resources officers ordering them to report to ODNI or CIA facilities in northern Virginia,

bringing with them their access badges, as early as 8:00am on Tuesday, February 18. It is apparent

that all of these officers will be summarily fired, or placed on indefinite leave without pay.

                                      LEGAL STANDARD

       13.     The standard in this jurisdiction for granting a temporary restraining order is a four-

fold test: (1) Whether plaintiffs are likely to succeed on the merits of their statutory claim, (2)

whether plaintiffs are likely to suffer irreparable harm in the absence of an injunction, (3) whether

the balance of hardships weighs in their favor, and (4) whether an injunction serves the public

interest. See HIAS, Inc. v. Trump, 985 F.3d 309, 325-26 (4th Cir. 2021) (upholding a temporary

restraining order on the implementation of E.O. 13888, Enhancing State and Local Involvement in

Refugee Resettlement (Sep. 26, 2019) on the basis of, inter alia, the Administrative Procedure Act).

       14.     Plaintiffs seeking preliminary injunctions must demonstrate that they are likely to

succeed on the merits, but Plaintiffs need not show a certainty of success. See Aziz v. Trump, 234

F.Supp.3d 724, 733 (E.D.Va. 2017) (upholding a temporary restraining order on the

implementation of E.O. 13780, Protecting the Nation from Foreign Terrorist Entry into the United

States (Jan. 27, 2017) on the basis of, inter alia, the Administrative Procedure Act and U.S.

CONST. AMENDS. I and V, citing League of Women Voters of N.C. v. North Carolina, 769 F.3d

224, 247 (4th Cir. 2014).

                                          ARGUMENT

       15.     In Roe v. Department of Defense, 947 F.3d 207 (4th Cir. 2020), the Court of Appeals

upheld a preliminary injunction against the discharge of two Air Force servicemembers on the

basis of their being Human Immunodeficiency Virus (“HIV”)-positive, pursuant to the

Administrative Procedure Act (APA) and their Fifth Amendment due process rights.



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       16.     In Roe, the Court of Appeals observed that the APA commands courts to hold

unlawful and set aside agency actions that are arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law, and that courts retain an important role in ensuring that

agencies have engaged in reasoned decision-making, as the APA embodies the basic presumption

of judicial review to one suffering legal wrong because of agency action. See id. at 220 (internal

citations and quotations omitted). While courts “accord substantial deference to an agency's final

action and presume it valid, the arbitrary-and-capricious standard does not reduce judicial review

to a rubber stamp of agency action.” Id. (internal citations removed).

       17.     The Roe court reasoned that to comply with the APA, an “agency must examine the

relevant data and articulate a satisfactory explanation for its action including a rational connection

between the facts found and the choice made. Agency action is arbitrary and capricious when the

agency has relied on factors which Congress has not intended it to consider …” and in “reviewing

an agency action, we may not supply a reasoned basis for the agency’s action that the agency itself

has not given.” Id. (internal citations and quotations omitted).

       18.     The Roe court agreed with the District Court that discharging the airmen for being

HIV-positive would amount to an irreparable injury, as the “circumstances surrounding an

employee's discharge, together with the resultant effect on the employee, may so far depart from

the normal situation that irreparable injury might be found,” the airmen faced “a particularly

heinous brand of discharge … that bears no relationship to their ‘ability to perform their jobs,” and

the airmen could not address these harms through post-discharge military procedures. Id. at 229.

       19.     Plaintiffs in the instant case are similarly situated to the plaintiff-respondents whose

temporary restraining order was obtained and upheld in Roe. Defendants ODNI and CIA engaged

in no reasoned decision-making whatsoever.            Like uniformed servicemembers, intelligence



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officers may not appeal to the Merit Systems Protection Board (“MSPB”), so judicial review is

Plaintiffs’ only avenue of appeal. Defendants ODNI and CIA appear to have failed to examine

relevant data between January 20, 2025 when the E.O. was issued and January 22 when Plaintiffs

were placed on leave. Defendants have articulated no satisfactory explanation, or rational or

reasoned basis at all for Plaintiffs’ terminations. As explained infra, Defendants appear to be

relying on regulatory and statutory authority regarding terminations in an extreme way that

Congress did not intend and the Supreme Court, per Webster v. Doe, 486 U.S. 596 (1988), has not

supported. Similar to the Roe airmen, the circumstances surrounding Plaintiffs’ impending public

firings, together with the resultant effect on them, so far depart from a normal termination that they

amount to irreparable injury, as they have been labeled by the President as engaging in illegal and

immoral activity, an injury Plaintiffs cannot not address through post-termination appeals (even if

such appeals are available). Plaintiffs’ injuries would be the same if placed on indefinite LWOP.

   I.         Plaintiffs are likely to succeed on the merits.

        A.       APA

        20.      The APA provides at 5 U.S.C. § 706 that a U.S. district court may hold unlawful

agency action found to be arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law; contrary to constitutional right; short of statutory right; without observance

of legally required procedure; unsupported by substantial evidence reviewed on the record of an

agency hearing provided by statute; or unwarranted by the facts to the extent that the facts are

subject to trial de novo by the reviewing court. See § 706(2).

        21.      Defendants’ scheme to terminate Plaintiffs on or about February 18 is a perfect

example of arbitrary and capricious agency action amounting to an abuse of discretion. Plaintiffs’

suspension two days after the issuance of the Executive Order, only on the basis of their temporary



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assignments to DEIA roles, and their anticipated February 18 firings, even though E.O. 14151 does

not call for their termination, is the definition of arbitrary, capricious and abusive agency action.

       22.      Plaintiffs’ looming termination is contrary to their constitutional right under the

First Amendment to free speech about their (assumed) beliefs about a domestic political issue, an

issue which is irrelevant while they serve in agencies dedicated to collecting and analyzing foreign

intelligence.   Plaintiffs planned termination is also contrary to their right under the Fifth

Amendment to due process, including adequate notice and the opportunity to be heard, before

being denied their property interest in their employment.

       23.      Defendants ODNI and CIA plan to terminate Plaintiffs without following any legal

procedure, as called for by agency regulations, and without any evidentiary record at all, could be

presented by Plaintiffs in their defense at a CIA PEB, for example. Plaintiffs will receive no

hearing at all, not even before the MSPB. They will apparently lack the regulatory right of appeal

to CIA’s third-ranking official as well as its director as provided for in that agency’s regulations.

See Termination of Employment at ¶¶ (g)(3)-(4) (available at https://irp.fas.org/cia/term.pdf).

       24.      The APA permits the Court to review final agency action, as well as action for which

there is no other adequate remedy. See 5 U.S.C. §§ 702, 704. Defendants appear to have already

taken final agency action. The IC is prepared to present Plaintiffs with faits accompli on February

18th: thus, their insistence that Plaintiffs appear at their employers’ external visitors centers,

instead of their offices, and with their IC access badges, so that their professional identification

may be seized. Defendants have taken their final action, Plaintiffs merely await to be informed of

that action; certainly, Defendants do not plan to hold required administrative hearings at their

visitors centers on February 18.




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       25.     Classified Agency regulations which allow the Director of CIA (and presumably

the Director of National Intelligence) to terminate an employe when the Director “deems such

determination necessary or advisable in the interests of the United States,” Termination of

Employment at ¶ 8(d), based upon the National Security Act, 50 U.S.C. § 403(c), are constitutional

only insofar as such a termination complies with the rationale set forth Webster v. Doe.

       26.     In Webster Chief Justice Rehnquist reasoned CIA directors could wield such

regulatory and statutory power because of their unique responsibility for protecting

intelligence sources and methods from unauthorized disclosure. See id. at 600-01 (citing Snepp v.

United States, 444 U.S. 507, 510 (1980) and CIA v. Sims, 471 U.S. 159, 168-69 (1985)).

       27.     Here, Petitioners are suspended and face imminent termination (or involuntary

LWOP) not because of any national security issues. Rather, these civil servants face personnel

action only because of a domestic political and legal dispute between other parties regarding the

efficacy and legality of DEIA initiatives within the federal government, in which they, their careers

and their families are collateral damage. The rationale set forth by the Supreme Court in Webster

to uphold the legality of CIA directors’ broad authority under Section 403 does not apply here.

       28.     The Agency regulations’ claim that this discretion is not limited by any other law,

see Termination of Employment at ¶ 8(f), stretches this authority beyond the breaking point; no

mere agency regulation can exist without reference to any other statute, such as the Administrative

Procedure Act, or constitutional provisions such as the First and Fifth Amendments. The Director

of National Intelligence and the Director of Central Intelligence obviously may not terminate an

intelligence officer on the basis of their religion, race or sex, in derogation of constitutional

prohibitions on religious tests for office, constitutional guarantees of equal protection and civil

rights statutes. Neither, here, may the directors terminate an intelligence officer on the basis of an



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assumption about their support for a domestic political policy such as DEIA. Defendants’ conduct

appears to be based on an assumed ideological commitment to DEIA, which would be First

Amendment-protected, when in fact Plaintiffs’ association with DEIA-related “belief” is simply

that they were assigned by senior supervisors to DEIA-related jobs.

                  i.     First Amendment

         29.      The First Amendment provides in pertinent part that Congress shall make no law

abridging the freedom of speech, or the right of the people to petition the Government for a redress

of grievances,” such as the issues raised by DEIA. Plaintiffs’ looming termination is contrary to

their constitutional right under the First Amendment to free speech about their (assumed) beliefs

about a domestic political issue while serving in agencies dedicated to foreign intelligence.

                  ii.    Fifth Amendment

         30.      The Fifth Amendment provides in pertinent part that no person shall be deprived of

property without due process of law. Defendants plan to terminate Plaintiffs with insufficient

notice, without any of the agency administrative procedures required by law and the agencies’ own

regulations, and without any evidentiary record—no hearing at all, not even before the MSPB—

nor rights of appeal to senior agency officials. Plaintiffs’ impeding termination is contrary to their

constitutional right to due process before being denied their property interest in their employment.

   II.         Plaintiffs will suffer immediate, irreparable injury should they be terminated on
               February 18, 2025.

         31.      Because of press attention understandably being paid to current events, Plaintiffs’

terminations would amount to very public firings, crippling their ability to obtain private sector

work within their professions, at defense and intelligence contractors for example.

         32.      It is unprecedented for a group of federal officers to be terminated pursuant to a

public statement by the President that their last assignment involved dangerous, demeaning,

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immoral and illegal activity, undermining of national unity and denying, discrediting and

undermining traditional American values, supporting an unlawful, corrosive, and pernicious

identity-based spoils system, stigmatizing and demeaning hardworking Americans, resulting in

tragic and disastrous consequences on the basis of pernicious discrimination.

          33.      This bell cannot be unrung.     Indeed, if any private employer issued such a

remarkable statement about a group of terminated employees, it would be liable for defamation.

If as expected Plaintiffs are terminated on February 18 (again, with insufficient notice, and without

any due process and without any record), Plaintiffs will enter the job market with this libelous

statement from the presidential “bully pulpit” ringing in potential employers’ ears. Again,

Plaintiffs’ injuries in this regard are just as bad if they are placed on involuntary LWOP.

   III.         The balance of equities and the public interest favor Plaintiffs.

          34.      Petitioners are not career DEIA officials, they are career intelligence officers.

Rather than terminate Petitioners, even under the terms of E.O. 14151 and its companion policy

statement, Defendants CIA and ODNI could simply reassign them to duties not involving DEIA,

duties they performed well for years before their most recent assignment.

          35.      Indeed, several Plaintiffs’ career services within ODNI and CIA immediately

identified other open and mission-critical positions into which these officers could immediately be

slotted. Each Plaintiff appraised of their career service’s intention to offer those jobs expressed

their willingness to accept them.

          36.      Instead, the IC is opting for the draconian, illegal and unnecessary alternative of

arbitrarily terminating good officers recruited, vetted and trained at great taxpayer expense,

capriciously wasting cumulatively hundreds of years of national security experience.




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        37.    Leaving aside the question of the merit of DEIA programs in other government

agencies (or lack thereof), CIA for example has specific national security reasons to value diversity.

The Agency needs some operations officers with, inter alia, the ability to blend in racially with

foreign populations, the capability to meet female sources in cultures in which unmarried adults

of the opposite sex rarely meet in private, dual citizenship documentation, foreign language skills,

overseas living experiences, and more.

        38.    These officers performed a necessary national security mission which is wholly

apolitical, unique to the Intelligence Community, and unlike any other federal government DEIA

role.   Plaintiffs performed an essential function in the intelligence cycle—from source

development to recruitment, from to collection to analysis. It is a key task of intelligence officers

to assimilate, communicate and understand. This critical function includes diversity in appearance,

culture, language and sex, for example.

        39.    Plaintiffs did a valuable public service, at the request or insistence of the IC, when

they undertook temporary assignments to DEIA roles. They deserve praise and reassignments, not

obloquy and summary firings, for their efforts.

                                          CONCLUSION

        Plaintiffs deserve a temporary injunction restraining Defendants from terminating them.

Plaintiffs are likely to succeed on the merits of their APA and constitutional claims. Plaintiffs will

suffer irreparable harm in the absence of an injunction by being publicly fired for allegedly

engaging—according to a White House statement—in illegal and immoral activity. The balance

of hardships is in Plaintiffs’ favor as termination causes them economic hardship, and Defendants

none at all. And Plaintiffs’ continued public service as highly-trained intelligence officers serves

the public interest. Plaintiffs did a valuable public service, at the request or insistence of the IC,



                                                  11
when they undertook temporary assignments to DEIA roles.               They deserve praise and

reassignments, not obloquy and summary firings, for their efforts.

Dated: February 17, 2025                     Respectfully submitted,

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                                               12
                                CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2025, a copy of the foregoing was mailed first class

mail, postage prepaid, to:

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                                                 13
